Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 1 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

BRUNSWICK DIVISION
ROBERT CASTLEBERRY, Civil Action No.
Plaintiff, 2:16-cv-00128-LGW-BWC
Vv. JURY TRIAL DEMANDED
CAMDEN COUNTY,
Defendant.

 

 

AMENDED CONSOLIDATED PROPOSED PRETRIAL ORDER

1. Counsel are to discuss and agree on every possible factual stipulation. The
stipulations must be reduced to writing, signed and filed with the consolidated
proposed pretrial order as ATTACHMENT “A” hereto. Stipulations can spare
witness testimony, trial time, and expense. If a party feels the other side is in
bad faith refusing to stipulate, they shall set forth “proposed stipulations” on
ATTACHMENT “A.” Costs of proving what, at trial, was never really disputed
and what should have been stipulated, may be taxed against the offending party
and attorney. Those costs may include witness fees and additional attorney
preparation time costs.

2. As ATTACHMENT “B” to the proposed pretrial order, the parties may, but
are not required to, submit questions which they desire the Court to propound to
jurors concerning their legal qualifications to serve and any other questions they
wish propounded for information purposes. If the parties choose to submit general
voir dire questions hereunder, they may submit the questions jointly as one
attachment or separately as ATTACHMENTS “B-1” and “B-2”,
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 2 of 50

3. State the names of all parties, firms and attorneys to be used in qualifying the
jury. State the name of any insurance company involved, and whether it is a stock or
mutual company. State the names of all counsel who are members of any firm
involved on a contingent fee basis. At the pretrial conference, counsel may be
required to disclose policy limits and details of any insurance coverage.

For Plaintiff:
Amanda Farahany
Barrett & Farahany (contingent fee basis)

Robert Castleberry
Plaintiff

For Defendant: | Charles A. Dorminy
Anthony A. Rowell
N. Daniel Lovein
William S. Mann
Hall Booth Smith, P.C.

Camden County, Georgia
Defendant

Western World Insurance Company

4. Identify the basis upon which the jurisdiction of this Court is based and any
questions relating to its jurisdiction.

e Plaintiff invokes the jurisdiction of this court pursuant to 42 U.S.C. §
12101 et seq., 28 U.S.C. §§ 1331 and 1343, and 42 U.S.C. § 12117. In
addition, the Defendant has been properly served with process in this
matter, such that personal jurisdiction exists.

e This Court is an appropriate venue for all Plaintiff’s claims under 28
U.S.C. § 1391(b), because all of the parties reside within the Southern
District of Georgia, and all or a substantial majority of the events giving
rise to Plaintiff’s claims occurred in this judicial district.
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 3 of 50

e The Defendant has no question relating to this Court’s jurisdiction.

5. List any motions or other matters in the case which remain unresolved. Any
motion not so enumerated shall be deemed withdrawn by the moving party.

Plaintiff intends to file appropriate Motions in Limine or other motions
as necessary prior to trial.

Defendant may file motions in limine or other motions as necessary prior
to trial. Defendant also wishes to compel the production of documents and
physical evidence from First Coast News. In accordance with the Rule 26
Instruction Order, the parties are required to seek a conference with the Court
prior to filing a Motion to Compel. (Doc. 4 at 5-6.) Defendant requested such a
conferral in the Status Report filed on October 2, 2017. (Doc. 24 at 1.)
Defendant subpoenaed all interview footage of Plaintiffs television interview
with First Coast News shortly after Plaintiff’s deposition. Although First Coast
News produced a publicly-available news article, and a link to the publicly-
available interview that aired, it did not produce the uncut footage from the
interview despite the subpoena specifically requesting that footage. First Coast
News objected to producing the uncut video footage under a First Amendment
argument. The Defendant has moved to compel this evidence.

6. All discovery is to be completed pursuant to the Local Rules. The date of the
conclusion of the discovery process and the expected completion of any
untranscribed deposition shall be stated. ;

Discovery was completed on 9/15/2017. However, as noted above,
Defendant continues to seek all footage of Plaintiff’s interview with First Coast
News. Plaintiff supplemented his discovery responses on May 9, 2019,
identifying new witnesses. This is the subject of Defendant’s Motion in Limine.
Defendant requests the opportunity to depose these witnesses for discovery
purposes and obtain records related to their testimony if the Court allows them
as witnesses. Defendant is issuing subpoenas for the witnesses’ depositions.
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 4 of 50

7. State whether the names of the parties in the above-captioned case(s) are
complete and correct and whether there is any question of misjoinder or non-joinder.

The names of the parties are complete and correct. There is no question
of misjoinder or non-joinder.

8. Outline of Plaintiff’s case.

On January 27, 2015, Plaintiff Robert Castleberry (“Plaintiff or “Mr.
Castleberry”) provided his employer, Defendant Camden County (“Defendant” or
“the County”), documentation from two different psychologists — one hand-picked
by the County — diagnosing him with Autism Spectrum Disorder (“Autism”). He
was seeking accommodations for this disability. Both psychologists stated that it
would be “beneficial” if Mr. Castleberry were allowed to work from home, although
neither the psychologists nor Mr. Castleberry claimed this was the only way to
accommodate his disability. Previously, Mr. Castleberry had provided the County
with a list of 13 other proposed accommodations. He was also taking previously-
approved intermittent FMLA leave — 30 minutes per week — for treatment of his
condition. The next day, January 28, Mr. Castleberry emailed Katie Howard (“Ms.
Howard”), the County’s HR Director, and requested to “begin again the interactive
process of discussing accommodation and setting parameters of those
accommodations.” In this email, Mr. Castleberry also complained of various actions
by the County that he stated were retaliation in violation of the Americans with
Disabilities Act (“ADA”).

The County fired him the next day. In an email notifying Mr. Castleberry of
the termination, Ms. Howard stated that the County could not accommodate his
“need” to work from home (even though neither Mr. Castleberry nor the
psychologists ever said he “needed” to work from home). Ms. Howard then stated
the County could not accommodate his disability and he was, therefore, “release[d]
... from employment.” In so saying, Ms. Howard and the County did not address
the list of possible accommodations Mr. Castleberry had previously provided.

9. Outline of Defendant’s case.
- Robert Castleberry was hired as a 4-H Program Associate in June 2013. In

that position, Castleberry provided support to the 4-H Program Director, Amber
Bishop, and provided oversight for the Georgia 4-H Youth Development Program
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 5 of 50

in Camden County. An essential function of this job, as stated in the written job
description provided to Castleberry, is communication and interaction Ms. Bishop,
and with coworkers, staff, students, and the public.

Throughout his employment as a 4-H Program Associate, Castleberry had
personality conflicts with his female coworkers—mainly his supervisor, Amber
Bishop. Because of his sensitivity to sound, Castleberry wore earplugs at work. He
also requested to move offices twice and was permitted to do so. When Castleberry
becomes overwhelmed or stressed, he allegedly shuts down and chooses not to
communicate verbally. Admittedly, the only time Castleberry “shut down” in his 18
months working as a 4-H Program Associate was twice when he was criticized by
Ms. Bishop.

Because of his conflicts with Ms. Bishop, Castleberry applied for FMLA leave
on December 31, 2014. The therapist charted that he had attention-
deficit/hyperactivity disorder and inattentive social anxiety disorder. The County
granted Castleberry FMLA leave for 30 minutes each week to seek therapy for this
condition.

On January 9, 2015, Castleberry requested to have his office moved for the
third time—this time to the storage room. He also requested to wear noise-cancelling
headphones while at work and to have advanced notice of “coaching sessions” and
meetings. Katie Howard, the HR Director, told Castleberry that he needed to meet
with a psychologist because the County needed additional information from a
medical practitioner to better understand the limitations and accommodations
necessary for Castleberry’s working environment. Castleberry was put on paid
administrative leave on January 13, 2015 while the County tried to obtain all the
information necessary to determine how it could best accommodate his needs. Mr.
Castleberry saw psychologist, Laurie Fairall on January 15, 2015, and January 22,
2015, to be evaluated for Asperger’s. The psychologist told Castleberry he had
symptoms consistent with Autism Spectrum Disorder. The County then requested
Castleberry be evaluated by Dr. Ellinor Burke.

Dr. Burke stated that it was her opinion that Castleberry “struggles with
interpersonal relationships at work.” She stated that “Mr. Castleberry has requested
some accommodations in the workplace. He would like to work in a more isolated
setting or from home. This would be beneficial in dealing both with his sensitivity
to noise and his social anxiety related to Asberger’s.”
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 6 of 50

The County terminated Castleberry’s employment on January 29, 2015
because the accommodations requested, working in a more isolated setting or from
home, would not enable Castleberry to perform the essential functions of his job.

10. Inall cases in which violation of the United States Constitution or a federal or
state statute or regulation is alleged, the party making such claim shall specifically
state the constitutional provision and/or statute allegedly violated and the specific
facts on which such alleged violation is based. The party shall detail the damage or
relief sought pursuant to such claim and recite supporting authority.

Statue(s) Violated:

e Americans with Disabilities Act, as amended by the Americans with
Disabilities Amendments Act of 2008 ("ADA"). 42 U.S.C. § 12101, et seq.
e Family and Medical Leave Act ("FMLA"). 29 USS.C. § 2601, et seq.

Damage(s) Sought:

e A declaratory judgment that Defendant has engaged in unlawful
employment practices in violation of the ADA and the FMLA. 28
U.S.C. § 2201;

e Injunctive relief of reinstatement, or front pay in lieu thereof, and
prohibiting Defendant Camden County from further unlawful conduct
of the type described herein. 42 U.S.C. § 12117 and 29 U.S.C. § 2617;

e General damages for mental and emotional suffering caused by
Defendant’s misconduct. 42 U.S.C. § 12117;

© Punitive damages based on Defendant’s willful, malicious, intentional,
and deliberate acts, including ratification, condonation and approval of
said acts. 42 U.S.C. § 12117;

e Special damages and/or liquidated damages for lost wages and benefits
and prejudgment interest thereon. 42 U.S.C. § 12117 and 29 U.S.C. §
2617;

e Reasonable attorney's fees and expenses of litigation with any and all
other costs associated with this action as provided by the FMLA and
ADA. 42 U.S.C. § 12117 and 29 U.S.C. § 2617;
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 7 of 50

e Prejudgment interest at the rate allowed by law. 28 U.S.C. § 1961; and
e All other relief to which he may be entitled. 42 U.S.C. § 12117 and 29
U.S.C. § 2617.

. Defendant contends that it did not violate state or federal law by
terminating Plaintiff's employment. Thus, Plaintiff is not entitled to recover
damages. Compensatory and punitive damages are capped at $200,000 for
ADA or Title VII actions in the case of an employer with more than 200 and
fewer than 501 employees. 42 U.S.C. 1981a(b)(3). Punitive damages are not
recoverable against a government. 42 U.S.C. 1981a(b)(1).

11. In tort cases, any party bearing a burden of proof shall list each and every act
of negligence or intentional tort relied upon.

(a) Under a separate heading, state all relevant statutes, rules, regulations
and ordinances allegedly violated. Also, recite any supporting
authority.

Not applicable

(b) List all items of damages claimed or non-monetary relief sought.

Not applicable

(c) Inall cases involving alleged permanent injuries or death, furnish a full
statement as to the age, alleged life expectancy and/or probable duration of the
injuries, and earnings, income tax records or other records to prove earnings.

Not applicable.

12. Incontract cases or any other action not addressed in paragraphs 10 or 11, any
party having a burden of proof shall outline the particular alleged breach of contract
or the basis of any other cause of action, enumerate any applicable statute involved,
and detail the damages or relief sought and recite appropriate supporting authority.
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 8 of 50

Not applicable.

13. Ifthere is any dispute as to agency, state the contentions of the parties with
respect to agency.

Not applicable.

14. State who has the burden of proof (including any affirmative defenses or
special issues) and who has the opening and closing arguments to the jury.

Plaintiff bears the burden of proof as to his claims under the ADA and the
FMLA. Defendant bears the burden of proof as to any affirmative defenses —
including the defense of undue hardship to a Failure to Accommodate claim.
In either case, the burden is “preponderance of the evidence.”

Both parties are entitled to pre-trial opening statements and post-trial closing
arguments. Plaintiff has the right to make the first closing argument to the jury
and reserves a limited amount of time, to be discussed at the pretrial
conference, after Defendant’s rebuttal closing argument for a final closing
statement.

15. Under this paragraph, both plaintiff(s) and defendant(s) should separately list
the witnesses whom each will have present at the trial and those whom each may
have present at the trial. Witnesses intended to be used solely for impeachment shall
be listed; however, if a party has a genuine reason for not listing and disclosing an
impeachment witness, such party may address the Court ex parte and seek a ruling
as to whether disclosure may be properly withheld. A representation that a party will
have a witness present may be relied on by the opposing party unless notice to the
contrary is given in sufficient time prior to trial to allow the opposing party to
subpoena the witness or obtain his testimony. If a witness is not listed when the
proposed pretrial order is filed, the Court will not allow the addition of a witness by
any party, EXCEPT for providential or other good cause shown to the Court by
application for amendment to this Order.
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 9 of 50

NOTE: COUNSEL MUST SUBMIT TO THE COURTROOM DEPUTY
CLERK THREE COPIES OF THE TYPED WITNESS LIST AT THE
PRETRIAL CONFERENCE.

The following is a list of the fact witnesses that Plaintiff will have

present at trial:

 

Witness

 

 

 

Robert Castleberry

c/o Plaintiffs counsel ~

 

 

 

 

 

 

 

 

 

The following is a list of the fact witnesses that Plaintiff may have present at

trial:

 

Witness

 

  

 

Louis Foltzer

 

c/o Defendant’s counsel |

 

200 E. 4" Street, Woodbine, GA 31569

 

 

Joann Lindsey Milam
John Meyers c/o Defendant’s counsel
Jessica Warren c/o Defendant’s counsel

 

Ellinor Burke, Ph. D.

Cumberland Health Services
10545 Colerain Road, St. Marys, GA 31558

 

 

 

 

 

‘ 1514 Griffin Bluff Road

Kathy Strickland

“wee Kingsland, GA 31548

‘ 209 Mimosa Ave.

Robbie Edal

obbie Edalgo Folkston, GA 31537
Amber Bishop c/o Defendant’s counsel
Katherine Howard 253 Sunrise Drive, Woodbine, GA 31569

 

 

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 10 of 50

 

108 Somerset Drive, Kingsland, GA 31548

 

Tina Dasha
Allison Fender, MA, Tideline Counseling/Mental Health
LAPC 100 Mariners Drive, Suite D, Kingsland, GA

31548
60 Ocean Blvd, Atlantic Beach, FL 32233

101 Cottage Court, St. Marys, GA 31558

 

Dr. Laurie Fairall

 

 

 

Sallie Gaylean
Tracy Milstead 605 Osborne Street, St. Marys, GA 31558
Gene Castleberry 504 Woodlawn Drive, St. Marys, GA

 

701-A Chales Gilman Jr. Blvd., Kingsland, GA

Hadas Maimon, M.D.
31548

 

 

 

 

Plaintiff reserves the right to amend his witness list prior to Trial.
Witnesses that Plaintiff does not reasonably anticipate calling for rebuttal or
impeachment purposes are not included on this list. In addition, Plaintiff
respectfully reserves the right to call at trial any witnesses listed by any other

party.

10
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 11 of 50

The following is a list of the fact witnesses that Defendant will have present

 

 

at trial:
Witness Address '
Amber Bishop c/o Defendant’s counsel

 

 

 

 

The following is a list of the fact witnesses that Defendant may have present

 

 

 

 

at trial:

Witness Address” | a
Katie Howard 253 Sunrise Drive, “Woodbine, GA 31569
Kathy Baldwin
Tina Dasha 108 Somerset Drive, Kingsland, GA 31548

 

Louis Foltzer

c/o Defendant’s counsel

 

Joann Milam

200 E. 4" Street, Woodbine, GA 31569

 

Laurie Fairall, Psy.D.

60 Ocean Blvd, Atlantic Beach, FL 32233

 

Lynn Roth, LPC

3584 Atlanta Hwy, Flowery Branch, GA 30542

 

Ellinor Burke, Ph.D.

10545 Colerain Road, St. Marys, GA 31558

 

Nina Leonard, APRN

1712 Osborne Rd, Suite L, St. Marys, GA 31558

 

Tanya Markham

 

Allison Fender, LPC

100 Mariners Drive, Suite D, Kingsland, GA
31548

 

Medical records custodian
from Lighthorse
Healthcare, Inc.

1712 Osborne Rd, Suite L, St. Marys, GA 31558

 

Medical records custodian
from Cumberland Health
Services, Inc.

 

 

10545 Colerain Rd, St. Marys, GA 31558

 

11

 

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 12 of 50

 

Shelby Danielsen 1070 E Adams St, Jacksonville, FL 32202

Records custodian for First
Coast News

 

1070 E Adams St, Jacksonville, FL 32202

 

 

 

 

Plaintiff objects to Defendant calling Shelby Danielsen, Tanya Markham
and Nina Leonard as witnesses because they were not identified during the

discovery period.

12
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 13 of 50

16. All documents and physical evidence that may be tendered at the trial shall be
exhibited to and initialed by opposing parties prior to the pretrial conference. All
evidence shall be marked by the parties prior to the pretrial conference, and the
parties are encouraged to submit a joint exhibit list on a form supplied by the Clerk.
If separate exhibit lists are submitted, they shall be submitted on the forms supplied.
Duplications of exhibits should be avoided to the extent practicable. Exhibit lists
should be submitted to the Court at the pretrial conference. The material therein shall
be identified as follows:

(a) A list of documents and physical evidence submitted as joint exhibits.

(c) Where separate lists are being submitted, a list of documents and
physical evidence to be introduced by the plaintiff(s). Copies of such exhibits shall
be provided to counsel for each other party.

Objections and reasons therefor shall be stated in writing and be filed five (5) days
prior to the time of the pretrial conference. Items not objected to will be admitted

when tendered at trial.

(d) Where separate lists are being submitted, a list of documents and
physical evidence to be introduced by the defendant(s). Copies of such exhibits shall
be provided to counsel for each other party.

Objections and reasons therefor shall be stated in writing and be filed five (5) days
prior to the time of the pretrial conference. Items not objected to will be admitted

when tendered at trial.

(d) Any document or other physical evidence listed by any party and not
objected to, or to which objections have been overruled, may be received in evidence
on offer by any other party, in the event the listing party does not actually offer it
into evidence.

(ec) The foregoing shall not be deemed or construed to expand or limit the
rules relating to the admissibility of evidence generally.

NOTE: COUNSEL MUST SUBMIT TO THE COURTROOM DEPUTY
CLERK THREE COPIES OF THE TYPED WITNESS LIST AT THE
PRETRIAL CONFERENCE. All exhibits shall be cross-initialed by the

13
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 14 of 50

attorneys for the parties and properly tagged as required by the Local
Rules of this District. This cross-initialing procedure shall be completed
when counsel meet to confer on the preparation of the pretrial order.

JOINT EXHIBIT LIST

    

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DefNoBate063017. 1 22/221222? Handwritten notes

DefNoBate062217 2 29/2212222 Handwritten notes re "E-Mail Joann"

DefNoBate063017. 3 22/9212227 Typed letter/notes re Robert
Castleberry's job satisfaction

DefNoBate062217 4 221221229? Handwritten notes re "Robert
Castleberry"

DefNoBate063017. 5 22122/2222 Handwritten notes

DefNoBate062217 6 221221222? Handwritten notes re "Meeting with
Joann and Kathy"

DefNoBate062217 7 221221222? Handwritten notes re "Written Warning"

CASTLEBERRY00686 | 8 22/221222? Timeline of events

DefNoBate062217 9 Sat 03/01/2014 Social media post by Robert Castleberry

DefNoBate062217 10 Sat 03/08/2014 Social media post by Robert Castleberry

DefNoBate062217 11 Sat 05/03/2014 Social media post by Robert Castleberry

CASTLEBERRY00630 | 12 22/22/2005 Camden County Personnel Policy

DefNoBate053017. 13 22/22/2010 Camden County FMLA Policy

DefNoBate053017,. 14 22/22/2010 Camden County Sexual and Other
Unlawful Harassment policy

DefNoBate053017. 15 22/22/2010 Camden County Disability
Accommodation policy

DefNoBate053017. 16 22/22/2010 Camden County Chain of Command
Grievance policy

DefNoBate053017. 17 Fri 06/01/2012 Job Description for 4-H Program
Associate

DefNoBate063017. 18 22/92/2013 Notes re Program Associate candidates

DefNoBate063017. 19 29/22/2013 Castleberry online resume, submitted
cover letter and resume

DefNoBate063017. 20 72/22/2013 Castleberry certification documents

DefNoBate062217 21 05/22/2013 Questions for references for Program
Associate position

DefNoBate063017. 22 Mon 05/20/2013 | Notes from interview with Robert

Castleberry

DefNoBate053017. 23 06/22/2013 Castleberry personnel file

DefNoBate062217 24 Mon 11/18/2013 | Castleberry Performance Review

CASTLEBERRY00712 | 25 Tue 12/31/2013 | Castleberry 2013 tax documents

 

14

 

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 15 of 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DefNoBate053017. 26 Fri 03/14/2014 Typed notes from meeting with Robert
Castleberry
DefNoBate053017. 27 Wed 05/07/2014 | email re Office Picture
9:39 am. ET
CASTLEBERRY00605 | 28 Fri 06/27/2014 email re: Camden County Office
8:51 p.m. ET Complaint
DefNoBate053017. 29 Sun 06/29/2014 | Typed notes re Castleberry
DefNoBate053017. 30 Thu 11/13/2014 | email re Accomplishments for Nov. 12th
8:43 am. ET Office Meeting
DefNoBate053017. 31 Mon 11/17/2014 | email re time off
1:41 p.m. ET
DefNoBate053017. 32 Mon 11/24/2014 | Application for Family or Medical Leave
DefNoBate063017. 33 12/92/2014 Excerpt of Transcription of audio file
entitled "Amber Meeting Dec 18 -
Accommodation"
CASTLEBERRY00682 | 34 Tue 12/30/2014 | Letter from Lighthorse Healthcare, Inc.
with proposed accommodations
CASTLEBERRY00669 | 35 Wed 12/31/2014 | Designation Notice (FMLA) &
Certification of Health Care Provider
CASTLEBERRY00731 | 36 Wed 12/31/2014 | Castleberry 2014 tax documents
CASTLEBERR Y00609 | 37 Wed 12/31/2014 | Email re: FMLA Paperwork Approval
3:14 p.m. ET
DefNoBate053017. 38 Wed 12/31/2014 | email re FMLA
3:16 p.m, ET
CASTLEBERRY00769 | 39 22/22/2015 Castleberry's mitigation efforts
40 01/22/2015 evaluation of Castleberry
CASTLEBERRY00674 | 41 01/22/2015 Castleberry 4-H Staff Midyear
Evaluation
DefNoBate053017. 42 01/29/2015 Typed notes re "background of the issues
with Robert Castleberry"
DefNoBate053017. 43 Wed 01/07/2015 | email re Meeting this afternoon
2:52 p.m. ET
DefNoBate053017. 44 Wed 01/07/2015 | email re Meeting this afternoon
2:55 p.m. ET
DefNoBate053017. 45 Wed 01/07/2015 | email re Leaving Early
3:08 p.m. ET
CASTLEBERRY00742 | 46 Thu 01/08/2015 | Castleberry paycheck from Camden
County BOC
DefNoBate053017. 47 Thu 01/08/2015 | email re Meeting this afternoon
11:40 a.m. ET
CASTLEBERRY00628 | 48 Thu 01/08/2015 | email re Meeting Questions
1:29 p.m. ET
DefNoBate053017. 49 Thu 01/08/2015 | email re Meeting Questions
3:02 p.m. ET
DefNoBate053017. 50 Tue 01/20/2015 | email re Accommodation Request
11:57 am. ET

 

15

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 16 of 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASTLEBERRY00683 | 51 Mon 01/26/2015 | Lighthorse Healthcare, Inc.
diagnosis/request for accommodation
CASTLEBERRY00684 | 52 Tue 01/27/2015 | Psychological Evaluation by
Cumberland Health Services, Inc.
diagnosing Asberger's Disorder
DefNoBate053017. 53 Tue 01/27/2015 - | email re Documentation (re: Lighthorse)
4:16 p.m. ET
DefNoBate053017. 54 Wed 01/28/2015 | email re Interactive Process / Return to
11:13 am. ET Work
DefNoBate053017. 55 Wed 01/28/2015 | email re Update
2:58 p.m. ET
DefNoBate053017. 56 Thu 01/29/2015 | email re Communication
9:03 am. ET
DefNoBate053017. 57 Thu 01/29/2015 | email re Communication
11:17 asm. ET
CASTLEBERRY00629 | 58 Thu 01/29/2015 | email from Katie Howard re:
3:39 p.m. ET Accommodation Request
DefNoBate053017. 59 Thu 01/29/2015 | email re Accommodation Request
3:53 p.m. ET
DefNoBate053017. 60 Thu 01/29/2015 | email re ADA/EEOC Violations
4:28 p.m. ET
CASTLEBERRY0O0001 | 61 02/22/2015 Castleberry EEOC Complaint
CASTLEBERRY00010 | 62 Wed 02/11/2015 | Castleberry EEOC Intake Questionnaire
CASTLEBERRY00743 | 63 Thu 12/31/2015 _| Castleberry 2015 tax documents
64 22/22/2016 Castleberry mitigation income
CASTLEBERRY00932 | 65 Mon 05/23/2016 | Post on Camden County Help Wanted
Facebook page
CASTLEBERR Y00038 | 66 09/77/2016 Castleberry EEOC File
CASTLEBERRY00933 | 67 01/77/2017 Castleberry's mitigation efforts
68 Diagram of office used as exhibit in
deposition
CASTLEBERRY00177 | 69 2/2014 Amber Bishop 2014 County Extension
Coordinator Performance Review
CASTLEBERRY00182 | 70 2/2015 Amber Bishop 2014 County Extension
Agent Performance Review
CASTLEBERRY00198 | 71 2014 Amber Bishop Faculty Activity Report
CASTLEBERR Y00468 | 72 8/15/2013 Letter regarding Robert Edalgo resigning
CASTLEBERRY00475 | 73 7/12/2013 Minutes of the Extension Office Camden
County
CASTLEBERRY00245 | 74 2013 Amber Bishop 2013 County Extension

 

 

 

Coordinator Performance Review

 

16

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 17 of 50

DEFENDANT?’S EXHIBIT LIST

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

DOCUMENT

1 Reprimand and Disciplinary Actions for Robert Castleberry
2 MOU between Univ. of Ga. and Camden County BOC
3 Documents of reprimand for Robert Castleberry
4 Performance reviews and line of reporting for Robert Castleberry
5 Assignment selection form
6 Photographs attached as exhibits to Robert Castleberry’s deposition
7 Documents regarding Castleberry’s interview with the 4-H extension
8 Castleberry’s employment records from Covenant Village of Colorado
9 Castleberry’s employment records from Lang’s Marina Seafood Restaurant
10 Castleberry’s employment records from Traeger Pellet Grills
11 Castleberry’s employment records from YMCA of Florida’s First Coast
12 News article from First Coast News
13 Video of Castleberry’s interview with First Coast News
14 Uncut video of Castleberry’s interview with First Coast News
15 Castleberry’s medical records from Lighthorse Healthcare, Inc.
16 Castleberry’s medical records from Cumberland Heath Services, Inc.
17 Robert Castleberry’s personnel file

PLAINTIFF’S OBJECTIONS TO DEFENDANT’S EXHIBITS
Ex. # PLAINTIFF’S OBJECTION
8 Plaintiff objects to Defendant’s Exhibit 8, Castleberry’s employment

records from Covenant Village of Colorado. Defendant failed to identify. or
produce these documents as required by Rules 26(a) and (e) and Rule 34 of
the Federal Rules of Civil Procedure. Accordingly, Defendant should not be
permitted “to use that information or witness to supply evidence... ata
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

 

9 Plaintiff objects to Defendant’s Exhibit 9, Castleberry’s employment
records from Lang’s Marina Seafood Restaurant. Defendant failed to
identify or produce these documents as required by Rules 26(a) and (e) and
Rule 34 of the Federal Rules of Civil Procedure. Accordingly, Defendant

 

 

17

 

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 18 of 50

 

should not be permitted “to use that information or witness to supply
evidence . . . at a trial,” as provided by Rule 37(c) of the Federal Rules of
Civil Procedure. Plaintiff also objects to the authenticity and relevance of
this Exhibit and each of its parts. Plaintiff additionally objects to this Exhibit
as containing hearsay in whole and in each of its parts.

 

10

Plaintiff objects to Defendant’s Exhibit 10, Castleberry’s employment
records from Traeger Pellet Grills. Defendant failed to identify or produce
these documents as required by Rules 26(a) and (e) and Rule 34 of the
Federal Rules of Civil Procedure. Accordingly, Defendant should not be
permitted “to use that information or witness to supply evidence ... at a
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

1]

Plaintiff objects to Defendant’s Exhibit 11, Castleberry’s employment
records from YMCA of Florida’s First Coast. Defendant failed to identify
or produce these documents as required by Rules 26(a) and (e) and Rule 34
of the Federal Rules of Civil Procedure. Accordingly, Defendant should not
be permitted “to use that information or witness to supply evidence... at a
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

12

Plaintiff objects to Defendant’s Exhibit 12, News article from First Coast
News. Defendant failed to identify or produce these documents as required
by Rules 26(a) and (e) and Rule 34 of the Federal Rules of Civil Procedure.
Accordingly, Defendant should not be permitted “to use that information or
witness to supply evidence . . . at a trial,” as provided by Rule 37(c) of the
Federal Rules of Civil Procedure. Plaintiff also objects to the authenticity
and relevance of this Exhibit and each of its parts. Plaintiff additionally
objects to this Exhibit as containing hearsay in whole and in each of its parts.

 

 

13

 

Plaintiff objects to Defendant’s Exhibit 13, Video of Castleberry’s interview
with First Coast News. Defendant failed to identify or produce these
documents as required by Rules 26(a) and (e) and Rule 34 of the Federal
Rules of Civil Procedure. Accordingly, Defendant should not be permitted
“to use that information or witness to supply evidence . . . at a trial,” as
provided by Rule 37(c) of the Federal Rules of Civil Procedure. Plaintiff

 

18

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 19 of 50

 

also objects to the authenticity and relevance of this Exhibit and each of its
parts. Plaintiff additionally objects to this Exhibit as containing hearsay in
whole and in each of its parts.

 

14

Plaintiff objects to Defendant’s Exhibit 14, Uncut video of Castleberry’s
interview with First Coast News. Defendant failed to identify or produce
these documents as required by Rules 26(a) and (e) and Rule 34 of the
Federal Rules of Civil Procedure. Accordingly, Defendant should not be
permitted “to use that information or witness to supply evidence ... at a
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

15

Plaintiff objects to Defendant’s Exhibit 15, Castleberry’s medical records
from Lighthorse Healthcare, Inc. Defendant failed to identify or produce
these documents as required by Rules 26(a) and (e) and Rule 34 of the
Federal Rules of Civil Procedure. Accordingly, Defendant should not be
permitted “to use that information or witness to supply evidence ... ata
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

16

Plaintiff objects to Defendant’s Exhibit 16, Castleberry’s medical records
from Cumberland Heath Services, Inc. Defendant failed to identify or
produce these documents as required by Rules 26(a) and (e) and Rule 34 of
the Federal Rules of Civil Procedure. Accordingly, Defendant should not be
permitted “to use that information or witness to supply evidence... at a
trial,” as provided by Rule 37(c) of the Federal Rules of Civil Procedure.
Plaintiff also objects to the authenticity and relevance of this Exhibit and
each of its parts. Plaintiff additionally objects to this Exhibit as containing
hearsay in whole and in each of its parts.

 

 

17

 

Plaintiff objects to Defendant’s Exhibit 17, Robert Castleberry’s personnel
file. This Exhibit includes information concerning Plaintiff's criminal
history, which should be excluded pursuant to Rules 401 and 402 of the
Federal Rules of Evidence as irrelevant to any claim or defense in this case.
This evidence also should be excluded pursuant to Rules 403 and 609(b) of
the Federal Rules of Evidence because any conceivable probative value is
outweighed by the risk of unfair prejudice. Additionally, this evidence

 

19

 
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 20 of 50

 

should be excluded pursuant to Rule 609 of the Federal Rules of Evidence
as improper impeachment material. Plaintiff relies on Defendant’s statement
that it does not intend to introduce any of this information into evidence at
the trial of this case. See Doc. 74. Plaintiff additionally objects to this
Exhibit as containing, in part, inadmissible hearsay.

 

 

 

 

17. List all witnesses whose testimony by deposition will or may be offered by
each party and the specific deposition pages and lines to be offered. All objections
by opposing parties to any portions of the deposition(s) shall be set forth with
specific reference to the portion of the testimony objected to and the basis therefor.

Neither Plaintiff nor Defendant anticipate providing testimony by
deposition. However, the Parties reserve the right to offer any testimony of a
witness unavailable by law, including the medical providers listed.

(a) Prior to trial, counsel shall confer to eliminate all extraneous,
redundant, and unnecessary matter, lapses, and colloquy between counsel in the
deposition excerpts. Counsel shall also attempt to resolve all objections to deposition

testimony to be offered.

(b) The parties shall, if practicable, conform deposition exhibit numbers in
trial questions and testimony to the numbers of trial exhibits.

18. Each party shall separately provide a memorandum of authorities as to any
questions of law likely to arise at the trial, including the merits of plaintiff(s)’ claim,
defenses asserted, matters of evidence, etc.

Plaintiff

A. VIOLATION OF THE ADAAA — FAILURE TO ACCOMMODATE
The ADA provides: "No covered entity shall discriminate against a qualified

individual on the basis of disability in regard to job application procedures, the
hiring, advancement, or discharge of employees, employee compensation, job

20
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 21 of 50

training, and other terms, conditions, and privileges of employment." 42 U.S.C. §
12112(a).

To establish a prima facie case of discrimination under the ADA, the Plaintiff must
prove three elements: "that, at the time of the adverse employment action, [he] had
a disability, [he] was a qualified individual,'! and [he] was subjected to unlawful
discrimination because of [his] disability." United States Equal Employment
Opportunity Comm'n v. St. Joseph's Hosp., Inc., 842 F. 3d 1333, 1343 (11th Cir.
2016).

As part of the third element, the law requires (“employer must”) the employer to
reasonably accommodate an otherwise qualified individual; failing to due so is
evidence of “unlawful discrimination.” See Nadler v. Harvey, No. 06-12692, 2007
U.S. App. LEXIS 20272, at *28 (11 Cir. 2007); Lucas v. W.W. Grainer, Inc, 257
F.3d 1249, 1255 (11" Cir. 2001); Hilburn v. Murata Elecs. N. Am., Inc., 181 F.3d
1220, 1226 (11" Cir. 1999); Holbrook v. City of Alpharetta, 112 F.3d 1522, 1526
(11" Cir. 1997). “An accommodation is reasonable, and thus required under the
ADA, only if it allows the employee to perform the essential functions of the job.”
Earl v. Mervyns, Inc., 207 F.3d 1361, 1365 (11th Cir. 2000). “Whether an
accommodation is reasonable depends on specific circumstances.” Terrell v. USAir,
132 F.3d 621, 626 (11th Cir. 1998).

As such, for this case, the Defendant has the burden to show that the
accommodations suggested by Plaintiff were either (1) provided to him, or (2) not
reasonable because the Plaintiff was still unable to perform essential functions of his
job or that the accommodation “transformed” the essential function of his position.

 

' For this element, a "qualified individual" is one who "with or without reasonable
accommodation, can perform the essential functions of the employment position that such
individual holds." 42 U.S.C. § 12111 (8). "Accordingly, an ADA plaintiff must show either that
he can perform the essential functions of his job without accommodation, or, failing that, . . . that
he can perform the essential functions of his job with a reasonable accommodation." Holly v.
Clairson Indus., L.L.C., 492 F.3d 1247, 1256 (11th Cir. 2007) (citation omitted). "If the individual
is unable to perform an essential function of his job, even with an accommodation, he is, by
definition, not a ‘qualified individual’ and, therefore, not covered under the ADA. In other words,
the ADA does not require the employer to eliminate an essential function of the plaintiff's job." Jd.
(citation omitted). The essential functions "are the fundamental job duties of a position that an
individual with a disability is actually required to perform." /d.; see also 29 C.F.R. § 1630.2 (n)
(2) Gi) (stating that a "function may be essential because the reason the position exists is to perform
that function").

21
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 22 of 50

A corollary to the “reasonable accommodation” requirement is the employer's
obligation to engage in an “interactive process” with the disabled employee to
determine whether and which reasonable accommodations are feasible. Crutcher v.
Mobile Hous. Bd., No. 04-0499-WS-M, 2005 U.S. Dist. LEXIS 35402, at *47-49
(S.D. Ala. Oct. 20, 2005); see also EEOC v. Sears, Roebuck & Co., 417 F.3d 789,
797 (7th Cir. 2005) (“the ADA requires that employer and employee engage in an
interactive process to determine a reasonable accommodation”). Simply put, once
an employer becomes aware of the need for a reasonable accommodation, it “must
make a reasonable effort to determine the appropriate accommodation. The
appropriate accommodation is best determined through a flexible, interactive
process that involves both the employer and the [employee] with a disability.” 29
C.E.R. pt. 1630, App § 1630.9 at 359. “Underlying the interactive process is the duty
of the parties to act in good faith while searching for appropriate reasonable
accommodation.” O'Dell v. Department of Public Welfare of Pennsylvania, 346 F.
Supp.2d 774, 785 (W.D. Pa. 2004); see also Calero-Cerezo v. United States DOJ,
355 F.3d 6, 24 (1st Cir. 2004) (“An employer's refusal to participate in the process
may itself constitute evidence of a violation of the statute.”); Carroll v. England,
321 F. Supp.2d 58, 69 (D.D.C. 2004) (“when the duty to reasonably accommodate
arises; both employee and employer must exchange essential information and neither
side can delay or obstruct the process”).

A plaintiff alleging that his employer did not participate in the interactive process
“must demonstrate: 1) the employer knew about the employee’s disability; 2) the
employee requested accommodations or assistance for his or her disability; 3) the
employer did not make a good faith effort to assist the employee in seeking
accommodations; and 4) the employee could have been reasonably accommodated
but for the employer’s lack of good faith.” Taylor v. Phoenixville Sch. Dist., 184
F.3d 296, 319-20 (3d Cir. 1999).

B. VIOLATION OF THE ADAAA — RETALIATION

ADA also provides that "no person shall discriminate against any individual because
such individual has opposed any act or practice made unlawful by [the ADA] or
because such individual made a charge, testified, assisted, or participated in any
manner in an investigation, proceeding, or hearing under [the ADA]." 42 U.S.C. §
12203 (a).

22
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 23 of 50

At trial, the Plaintiff is first tasked to establish a prima facie case of retaliation under
the ADA. Plaintiff must establish that he (1) engaged in statutorily protected
activity,” (2) suffered an adverse employment action, and (3) that a causal connection
exists between the two. Batson v. Salvation Army, 897 F.3d 1320, 1329 (11th Cir.

2018).

If Plaintiff establishes these three elements, then "the burden shifts to the
[Defendant] to articulate a nondiscriminatory reason for the adverse action." Jd.

If Defendant does this, then the burden shifts back to Plaintiff, who must show that
Defendant's proffered reason was pretextual. Jd. The Plaintiff satisfies this burden
"by presenting evidence sufficient to permit a reasonable factfinder to conclude that
the reasons given by the employer were not the real reasons for the adverse
employment decision.” /d. (internal quotation marks and citation omitted). Plaintiff
may do this by showing "such weaknesses, implausibilities, inconsistencies,
incoherencies, or contradictions in the employer's proffered legitimate reasons that
a reasonable factfinder could find them unworthy of credence." Holton v. First Coast
Serv. Options, Inc., 703 F. App'x 917, 923 (11th Cir. 2017). "Although a plaintiff
can use temporal proximity to show a defendant's proffered reason for termination
was pretextual, temporal proximity alone does not establish pretext." Jackson v.
Hennessy Auto, 190 F. App'x 765, 768 (11th Cir. 2006). .

C. VIOLATION OF THE FMLA — INTERFERECE AND RETALIATION

Under the FMLA, an eligible employee is entitled to up to twelve weeks of leave
each year because of a serious health condition. See 29 U.S.C. § 2612(a)(1). “To
preserve the availability of these rights, and to enforce them, the FMLA creates two
types of claims: interference claims, in which an employee asserts that his employer
denied or otherwise interfered with his substantive rights under the Act, see 29
U.S.C. § 2615(a)(1), and retaliation claims, in which an employee asserts that his
employer discriminated against him because he engaged in activity protected by the
Act, see 29 U.S.C. § 2615(a)(1) & (2); 29 C.F.R. § 825.220(c)." Wascura v. City of

 

2 For this element, “it is sufficient that an employee have a good faith, objectively reasonable belief
that his activity is protected by the statute." Standard v. A.B.E.L. Servs., Inc., 161 F. 3d 1318, 1328
(11th Cir. 1998). A request for reasonable accommodation also constitutes protected activity if
the employee has a good faith, objectively reasonable belief that he is entitled to the requested
accommodation under the ADA. Jd.

23
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 24 of 50

S. Miami, 257 F.3d 1238, 1247-48 (11th Cir. 2001) (quoting Strickland v. Water
Works and Sewer Bd., 239 F.3d 1199, 1206 (11" Cir. 2001)).

INTERFERENCE: "In order to state an interference claim under the FMLA, the
Plaintiff need only demonstrate by a preponderance of the evidence that he was
entitled to a benefit the employer denied." Jarvela v. Crete Carrier Corp., 776 F.3d
822, 831 (11th Cir. 2015) (citation omitted). For an FMLA interference claim, the
employer's motives are irrelevant. Martin v. Brevard Cty. Pub. Schs., 543 F.3d 1261,
1266-67 (11th Cir. 2008). Importantly, "an employee can be dismissed, preventing
her from exercising her right to commence FMLA leave, without thereby violating
the FMLA, if the employee would have been dismissed regardless of any request for
FMLA leave." Krutzig v. Pulte Home Corp., 602 F.3d 1231, 1236 (11th Cir. 2010).

RETALIATION: To establish a prima facie case of retaliation under the FMLA,
an employee must show that, "(1) he engaged in statutorily protected activity, (2)
he suffered an adverse employment decision, and (3) the decision was causally
related to the protected activity." Jarvela, 776 F.3d at 832 (11th Cir. 2015). Once
this burden is met, Defendant can show that the Plaintiff would have been
terminated regardless of his FMLA leave. See Batson v. Salvation Army, 897 F.3d
1320, 1331-21 (11" Cir. 2018). Plaintiff can then turn again to showing that this
reason was pretextual. Jd.

Even though the analyses for these two claims "merge at the summary judgment
stage, at trial, it remains the employer's burden to establish its affirmative defense
by showing that it did not interfere with its employee's substantive rights under the
FMLA by terminating the employee." Batson, 897 F.3d at 1236 n.6.

Defendant
I. Burden shifting

“Under the controlling law in this Circuit, ‘[t]he burden-shifting analysis
of Title VII employment discrimination claims is applicable to ADA claims.”
Holly v. Clairson Industries, LLC, 492 F.3d 1247, 1255 (11th Cir. 2007) (quoting
Earl v. Mevyns, 207 F.3d 1361, 1365 (11th Cir. 2000) (per curiam)). To establish
a prima facie case of discrimination under the Americans with Disabilities Act,
a plaintiff must show: “(1) he is disabled; (2) he is a qualified individual; and

24
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 25 of 50

(3) he was subjected to unlawful discrimination because of his disability.” Id.
(citation omitted). Once a prima facie case is established, the employer bears
the burden of articulating a legitimate, nondiscriminatory reason for the
challenged employment decision, which the employee must then demonstrate
to be a pretext designed to mask discrimination/retaliation. Jd. (citations
omitted); see McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802-04 (1973).

II. Definition of “disability” under the ADA.

“Disability” means “a physical or mental impairment that substantially
limits one or more major life activities of such individual; a record of such an
impairment; or being regarded as having such an impairment].]” 42 U.S.C. §
12102(1)(A)-(C).

II. Interactive Process

An employer cannot be held liable merely for failing to engage in the
interactive process itself, regardless of whether a reasonable accommodation
could in reality have been made for the employee. See Willis v. Conopco, Inc.,
108 F.3d 282, 285 (11th Cir. 1997); Spears v. Creel, 607 F. App’x 943, 950 (11th
Cir. 2015) (per curiam). The employee bears the responsibility of initiating the
interactive process by providing notice of his disability and requesting
- accommodation for it. Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 313 (3d
Cir. 1999). Although the employee’s request need not be written, nor “formally
invoke the “magic words ‘reasonable accommodation,’ the notice nonetheless
must make clear that the employee wants assistance for his or her disability.”
Taylor, 184 F.3d at 313. The employer, in other words, must know of both the
disability and the employee’s desire for accommodations for that disability. Id.
Employers are not required to “assume employees are disabled and need
accommodations.” Jd.

IV. Damages

Compensatory and punitive damages are capped at $200,000 for ADA or
Title VII actions in the case of an employer with more than 200 and fewer than
501 employees. 42 U.S.C. 1981a(b)(3)(D). Punitive damages are not recoverable
against a government. 42 U.S.C. 1981a(b)(1).

25
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 26 of 50

19. Plaintiff's counsel estimates 2 (days) (hours) to present plaintiffs case;
defendant’s counsel estimates 1 day to present the defense.

20. Plaintiff X has___ has not offered to settle.
Defendant X has ___ has not offered to settle.

It appears at this time that there is
___ A good possibility of settlement.

Some possibility of settlement.
_X No possibility of settlement.

The parties __do _X_ do not wish to confer with the Court regarding
settlement.

21. State any other matters which should be covered by pretrial order, including
rulings desired of the Court prior to trial.

Not Applicable

22. State whether or not the issues of liability and damages should be tried
separately (bifurcated) and give any other suggestion toward shortening the trial.
Where bifurcation is opposed by any party, such party shall state the reasons for such
opposition.

Plaintiff’ s Response:

Plaintiff requests that the issues of liability and damages be tried within the
same trial and opposes bifurcation.

First, Plaintiff’s evidence regarding damages is not expected to be extensive —
some testimony regarding the effect of Defendant’s illegal actions on his life and
presumably undisputed testimony and documents regarding the amount of his
compensation with when working for Defendant. Therefore, including
evidence regarding damages is not likely to significantly impact the length of
the trial. Second, Plaintiff anticipates that his damages evidence will be at least

26
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 27 of 50

partially intertwined with evidence of his disability. Therefore, a separate trial
on damages would be duplicative.

Defendant’s Response:

Defendant requests that any evidence in support of attorney’s fees be
bifurcated.

23. In cases where either party requests bifurcation of issues or a special verdict,
submit a copy of the proposed verdict as PLAINTIFF’S ATTACHMENT “C” and/or
DEFENDANT’S ATTACHMENT “C” hereto. Lead counsel are to discuss and
agree on such special verdict where possible. Where agreement is not reached, state
the basis for any objections to the special verdict request.

24. In non-jury cases, the parties shall each file their proposed findings of fact,
summary of depositions, and conclusions of law not later than one week prior to the
assigned trial date.

Not Applicable

25. The final proposed pretrial order shall be signed by counsel for each party and
shall contain a final paragraph, as follows:

IT IS HEREBY ORDERED that the foregoing constitutes a PRETRIAL
ORDER in the above case(s), that it supersedes the pleadings which are
hereby amended to conform hereto and that this PRETRIAL ORDER
shall not be amended except by ORDER OF THE COURT.

IT IS SO ORDERED this day of , 2019.

27
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 28 of 50

 

UNITED STATES DISTRICT JUDGE

Each of the undersigned counsel for the parties hereby consents to entry of the

foregoing pretrial order, which has been prepared in accordance with the form

pretrial order adopted by this court.

 

Carel Orcfare Agar

Counsel for Plaintiff // Counsel for Defendant

 

28
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 29 of 50

1)

2)

3)

4)

5)

6)

7)

8)

9)

ATTACHMENT A

STIPULATIONS

The Camden County 4-H Extension Office provides services to youths ages 9-19,
including hands-on learning programs, summer camps, classroom presentations, and
community service activities.

Plaintiff Robert Castleberry (“Plaintiff’ or “Mr. Castleberry”) began working for
Defendant Camden County (“Defendant” or “the County”) in the 4-H Office in June 2013.

As a4-H Program Associate, Castleberry provided support to Amber Bishop and oversight
for the Georgia 4-H Youth Development Program in Camden County.

Camden County provided Castleberry a written position description outlining the essential
duties and responsibilities of the 4-H Program Associate position.

Defendant Camden County is a covered employer under the FMLA.

Defendant Camden County employed more than 50 employees within a 75-mile radius of
Plaintiff's worksite.

There is no dispute that Mr. Castleberry worked for more than 12 months for the county,
including for more than 1,250 hours in the 12-month period immediately preceding his
requested intermittent FMLA leave.

Amber Bishop was Mr. Castleberry’s supervisor.

Castleberry wore earplugs while at work.

10) Castleberry requested Bishop to move his office to reduce the noise level he experienced

from an adjacent coworker’s office.

11) When Castleberry is overwhelmed and overstressed, he sometimes “shuts down.”

12) The only times Castleberry “shut down” in his 18 months working as a 4-H Program

Associate was approximately twice.

| 13) On December 18, 2014, Castleberry met with Bishop to discuss his request to be moved.

14) Castleberry applied for intermittent FMLA leave on December 31, 2014 after a therapist

noted that he had attention-deficit/hyperactivity disorder and inattentive social anxiety
disorder.

29
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 30 of 50

15) Mr. Castleberry provided his FMLA paperwork to the County on December 31, 2014, and
HR official Tina Dasha returned it to him with the County’s approval of his FMLA leave
that same day.

16) The County approved Mr. Castleberry taking intermittent FMLA leave (30 minutes each
week) to seek treatment.

17) On January 8, 2015, Mr. Castleberry forwarded his counselor Allison Fender’s December
30, 2014 letter to HR official Tina Dasha notifying the County that he had been diagnosed
with Inattentive Type Social Anxiety Disorder and that he needed accommodations
therefore. The County acknowledged receipt of this letter.

18) On January 8 or 9, 2015, Castleberry testified that he again requested to be moved and
requested to wear noise-cancelling headphones while at work.

19) Castleberry also requested “advanced notice of coaching sessions” because Bishop called
him into her office “for a surprise meeting” to discuss “a whole lot of things, a lot of
complaints and criticisms against me.”

20) Bishop emailed Castleberry a list of topics she wanted to discuss with him after her meeting
with Dasha.

21) On January 12, 2015, Howard emailed Castleberry telling him that Ellinor Burke, Ph.D., a
psychologist, could meet with Castleberry.

22) Mr. Castleberry was placed on administrative leave on January 13, 2015.

23) Katherine Howard, Defendant’s Director of Human Resources, told Mr. Castleberry that
the December 30 letter from his counselor was not sufficient and instructed him to see a
psychologist she had selected, Dr. Ellinor Burke, to assist with a diagnosis and with
possible accommodations.

24) On January 15, 2015, Castleberry underwent a psychological assessment by Laurie Fairall,
a psychologist.

25) Dr. Burke provided her psychological evaluation of Mr. Castleberry to the County on
January 27, 2015.

26)Ms. Howard, Defendant’s HR Director, admits receiving the January 27, 2015
psychological evaluation from Dr. Burke.
27) Ms. Howard admits she did not engage in any interactive process with Plaintiff in response

to his January 28, 2015 email.

30
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 31 of 50

28) Mr. Castleberry was Terminated from his position on January 29, 2015.
29) Mr. Castleberry was not terminated due to performance issues.

30) Ms. Howard and Ms. Bishop were also among the team that made the decision to terminate
Mr. Castleberry’s employment.

31
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 32 of 50

ATTACHMENT B-1
PLAINTIFF’S PROPOSED GENERAL VOIR DIRE QUESTIONS
I. BIOGRAPHICAL
1. Please state your full name.
2. Where do you live? How long have you lived there? With whom do you live?

3. What is your date of birth?

4. What is your marital status?

5. What is your spouse’s name? Children’s names and ages?
6. What is your occupation?

7. What is your spouse’s occupation?

8. What is your highest level of education?

9. What is your spouse’s highest level of education?

10. Have you or a family member ever sued anyone? If so, please provide details.
11. Have you of a family member ever been sued? If so, please provide details.
12. Are you involved in any civic or volunteer organizations? If so, please tell us
about them.

13. Are you now of have you ever been a member of a labor union? If so, which
union?

14. Do you have any current or prior employment history in the following:

32
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 33 of 50

a. Office work, for example secretarial, data entry, and or human
resources;

b. Law or the legal field;

C. Management;

d. Government standards or regulation

15. How would you describe yourself:

a. Very conservative;
b. Conservative;

c. Moderate;

d. Liberal;

e. Very Liberal;
f. Other;
16. If you had a disability and your employer refused to accommodate you, would
you file a lawsuit?
17. From where do you get your information about lawyers?
18. Have you or a family member ever thought you had good reason to sue, but

decided against it? If so, please explain.

19. Is there anything in your background or experience that could make you find

for or against a company just because you would not want to hurt the company?

33
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 34 of 50

II. DESCRIPTION OF THE CLAIM

20. There are federal laws known as the Americans with Disabilities Act and the
Family Medical Leave Act. The American with Disabilities Act protects individuals
with disabilities in the work place. Among the protections provided by the
Americans with Disabilities Act is a requirement that an employer provide
reasonable accommodations to an employee’s disability if such accommodation
does not constitute an undue hardship. The Family Medical Leave Act entitles
eligible employees to take unpaid protected leave for specified family and medical
reasons. In this case, Plaintiff Robert Castleberry contends Defendant Camden
County was on notice of Plaintiff's disability and failed to accommodate his.
Plaintiff further contends that Defendant illegally terminated his employment
because of his disability and because he complained of disability discrimination.
Finally, Plaintiff contends Defendant interfered with his right to exercise FMLA
leave or because he sought to exercise his right to such leave and, as a result, that
Defendant has violated federal law. Defendant disagrees with these contentions and
will take the position that it did not violate the law in any respect.

23. Does anyone feel that, under any circumstances, filing a lawsuit against

Defendant Camden County is wrong? Does anyone feel that they would have trouble

34
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 35 of 50

judging the facts of this case or being fair and impartial? If the facts show that

Plaintiff is a victim of Defendant’s alleged discrimination and interference of his

federal rights, would you have any trouble compensating him for his losses?

24. Is there anyone on the panel who feels. Defendant should not be held

accountable if the facts show that the County broke the law by not accommodating

Plaintiff's disability or by interfering with his right to exercise his FMLA leave?
UI. LEGAL SYSTEM

25. Has anyone on the panel, or any member of your family or close friend, ever

filed a lawsuit or been sued?

26. Has any member of the panel heard from any source that some people may

abuse the legal system from time to time? What are your feelings about that?

Would that affect the way you approach this case in any way?

27. Does anyone believe that people turn to courts too quickly to solve problems?

28.  Ifyes, please tell us what you have heard in this regard.

29. Does any member of the panel believe that the civil justice system should be

changed to limit the ability of employees to bring claims for disability discrimination

and interference with FMLA leave?

30. Does any member of the panel belong to any organization which favors

changing the law in order to limit a victim’s rights to recover?

35
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 36 of 50

31. Is there any member of the panel who would start this trial with even the
slightest negative feelings about the Plaintiff and his case, for any reason at all?

IV. SPECIFIC JUROR EXPERIENCE/EXPERTISE
32. Do you, or any member of your family or any close friend have or had a
disability and needed an accommodation? How were you (or that family
member/friend) accommodated?
33. Has any employer of yours ever failed to accommodate a disability for you or
any of the people you worked with?
34. Have you heard of Autism Spectrum Disorder (“Autism”)? What is your
understanding of Autism and the effects it has on those who suffer from it? From
where did you get that understanding?
35. Ifa party or witness to this case has been diagnosed with Autism, would that
negatively impact your feelings about that party or witness in any way?
36. Have you, or any member of your family or any close friend needed to take
FMLA leave? Were you (or that family member/friend) allowed to take that leave
under the FMLA?
37. Have you, or any member of your family or any close friend been terminated for

taking FMLA leave?

36
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 37 of 50

38. Have you, any member of your family, or close friend ever filed a lawsuit
against a government agency? What was the nature of the lawsuit?

39. Some people have taken the position that lawmakers have gone too far in
making laws that regulate the treatment of employees. Does anyone agree with that
position?

40. Have you or someone close to you ever filed a grievance or made a complaint
against someone or about something at work? What did it involve? What was the
outcome?

41. Have you, a family member, or a close friend been in a situation where the
boss did not tell the truth?

42. Has anyone sat on a jury before? What kind of case? Did the jury reach a

verdict? What was the verdict?

Vv. DAMAGES
43. This is a civil case in which Plaintiff claims that Defendant failed to
accommodate his disability, terminated him because of his disability and complaints
of disability discrimination, and interfered with his right to protected medical leave.

Plaintiff seeks compensation pursuant to federal law for this loss. Will any member

37
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 38 of 50

of the panel have difficulty awarding him full and fair compensation in the event
that you find that the evidence introduced at trial supports such an award?
44. Does any member of the panel have personal feelings, religious beliefs or
other convictions which would interfere with your ability to award full and fair
compensation to Plaintiff in the event that you find the evidence supports an award
of money damages?
45. Does anyone believe that the amount ofa verdict should not be above a certain
set amount, even if the evidence supports a larger award?

VU. BURDEN OF PROOF
46. This is a civil case, not a criminal case. In a civil case each side may present
claims or defenses to claims. In a civil case, a party need only prove his/her case by
a fair preponderance of the believable evidence. What this means is that if the scales
tip ever so slightly in favor of that party, under the law your verdict must be for that
party. This is very different from a criminal case, in which the prosecution must
prove the case beyond a reasonable doubt. Does any member of the panel have any
difficulty with this concept, or with being able to follow the Court’s instructions
regarding the burden of proof that parties must bear in civil cases?

Plaintiffs reserve the right to amend or modify this Attachment B-1 up to

five days before trial.

38
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 39 of 50

Defendant objects to portions of Plaintiff’s voir dire.

39
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 40 of 50

DEFENDANT’S PROPOSED GENERAL VOIR DIRE QUESTIONS
1. Where do you live? How long have you lived there? With whom do you live?
2. What is your marital status?
3. How Many children do you have?
4, What is your occupation?
5. How long have you been employed there?
6. What is your spouse’s occupation?
7. Have you or a family member ever sued anyone? For what?
8. Have you of a family member ever been sued? For what?
9. What civic or volunteer organizations are you involved?
10. Are you now of have you ever been a member of a labor union? If so, which
union?
11. Have you ever had a disability?
12. Have you ever requested disability accommodations from your employer?
13. This case involves a man with social anxiety problems. There will be testimony
about the difficulties he has in socializing and dealing with criticism from a female
superior in the workplace. There will be descriptions of his difficulties and they will
undoubtedly make you feel sorry for him. He claims he was discriminated against.

14. Does anyone feel that they will feel sorry for the Plaintiff because of his issues?

40
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 41 of 50

15. Will you be able to put aside your personal feelings and decide the case on its
merits?

16. Have any of you ever had issues with your superiors due to that superior being
the opposite sex?

17. Do you feel different being criticized by a member of the opposite sex than being
criticized by a member of your same sex?

18. Do you believe communication between co-workers within the workplace to be
important to the overall goal of the employer?

19. Do you believe co-workers working together within an office setting creates a
better office atmosphere?

20. Do you believe working as a team toward a goal is more beneficial than working
alone?

21. Does anyone have anxiety about communicating verbally with your co-workers?
22. Do you ever feel stressed in the workplace?

23. Have you ever felt fearful for your job?

24. Have you ever experienced anxiety in the workplace?

25. Do you believe communication by email is as effective as talking to someone
face-to-face?

26. Have you ever sent an email to someone that was misinterpreted?

4]
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 42 of 50

27. If you needed to communicate something important to someone, would you
choose to do it verbally face-to-face or through email?

28. How many of you have ever been reprimanded at work?

29. How many of you have ever had an advocate present whenever you received
criticism from your employer?

30. How many of you would rather work from home than in an office setting?

31. Do you believe you would be more productive working from home than working
in an office?

32. Have you ever had a co-worker you did not get along with?

33. Have you ever had a co-worker than made annoying sounds?

34. How many of you have requested to work from home due to issues you have had
with a co-worker?

35. Has anyone ever had an issue with a county government?

36. Has anyone ever spoken during a public meeting of a county government?

37. Has anyone ever served in any role in the government?

38. Does anyone have a negative opinion of governmental entities?

39. Has anyone ever taken issue with any decision ever made by the Camden County
Board of Commissioners?

40. Who believes that their county taxes are too high?

42
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 43 of 50

41. Who believes that the county government wastes tax payer money?

A2. Does anyone feel that they would have trouble judging the facts of this case or
being fair and impartial?

43. If the facts show that Plaintiff was not discriminated against, would you have
any trouble finding for the Defendant?

44. Is there any member of the panel who has even the slightest negative feelings
about the Defendant, for any reason at all?

45. Has any employer of yours ever failed to accommodate a disability for you or
any of the people you worked with?

46. Have you, or any member of your family or any close friend needed to take
FMLA leave?

47. Have you, any member of your family, or close friend ever filed a lawsuit against
a government agency? What was the nature of the lawsuit?

48. Have you or someone close to you ever filed a grievance or made a complaint
against someone or about something at work? What did it involve? What was the
outcome?

49. Has anyone sat on a jury before? What kind of case? Did the jury reach a verdict?
What was the verdict?

50. Does anyone have a negative opinion of governmental entities?

43 -
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 44 of 50

51. This is a civil case, not a criminal case. In a civil case each side may present
claims or defenses to claims. In a civil case, a party need only prove his/her case by
a fair preponderance of the believable evidence. What this means is that if the scales
tip ever so slightly in favor of that party, under the law your verdict must be for that
party. This is very different from a criminal case, in which the prosecution must
prove the case beyond a reasonable doubt. Does any member of the panel have any
difficulty with this concept, or with being able to follow the Court’s instructions
regarding the burden of proof that parties must bear in civil cases?

Defendant reserves the right to amend or modify this Attachment B-1 up

to five days before trial.

44
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 45 of 50

Attachment C
PLAINTIFF’S PROPOSED VERDICT FORM
We, the jury in the above-entitled action, give these answers to the following
questions:
1. Do you find from a preponderance of the evidence that Defendant
Camden County, failed to accommodate Plaintiffs disability as
required by law?

Answer Yes or No

Please move on to question 2.
2. Do you find from a preponderance of the evidence that Defendant
Camden County, discriminated against Plaintiff because of his
disability in violation of the law?

Answer Yes or No

Please move on to question 3.

45
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 46 of 50

3. Do you find from a preponderance of the evidence that Defendant
Camden County, retaliated against Plaintiff for opposing disability
discrimination in violation of the law?

Answer Yes or No

If you have answered “Yes” to question 1, or question 2, or question 3, please
move on to question 4. If you have answered “No” to all three questions above,

please move on to question 5.

4. Do you find from a preponderance of the evidence that Plaintiff should be

awarded damages?

Answer Yes or No

If your answer is “Yes,”
in what amount? $

_ Please move on to question 5.

5. Do you find from a preponderance of the evidence that Defendant
Camden County, interfered with Plaintiff's rights to take FMLA leave

as required by law?

46
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 47 of 50

Answer Yes or No

Please move on to question 6.

6. Do you find from a preponderance of the evidence that Defendant
Camden County, retaliated against Plaintiffs for attempting to exercise

his rights to take FMLA leave?

Answer Yes or No

If you have answered “Yes” to question 5 or question 6, please move on to
question 7. If you have answered “No” to question 5 and question 6, this ends

your deliberations.

7. Do you find from a preponderance of the evidence that Plaintiffs should be

awarded damages?

Answer Yes or No

If your answer is “Yes,”
in what amount? $

So SAY WE ALL.

47
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 48 of 50

 

Foreperson’s Signature
DATE:

 

48
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 49 of 50

Attachment C
DEFENDANT’S PROPOSED VERDICT FORM
We, the jury in the above-entitled action, give these answers to the following
questions:
1. Do you find by a preponderance of the evidence that Plaintiff was
discriminated against because of a disability?
Answer Yes or No
If Yes, please move to #2. If No, please move to #4.
2. Do you find by a preponderance of the evidence that Defendant
Camden County, retaliated against Plaintiff?
Answer Yes or No
If Yes, please move to #3. If No, please move to #4.
3. Do you find from a preponderance of the evidence that Plaintiff should
be awarded damages under the ADAAA?
Answer Yes or No

If your answer is “Yes,”
in what amount? $

If Yes or No, please move to #4.
4. Do you find from a preponderance of the evidence that Defendant

Camden County, interfered with Plaintiff's rights to take FMLA leave?

49
Case 2:16-cv-00128-LGW-BWC Document 81 Filed 05/15/19 Page 50 of 50

Answer Yes or No
If Yes or No, please move to #5,
5. Do you find from a preponderance of the evidence that Defendant
Camden County, retaliated against Plaintiff's for taking FMLA leave?
Answer Yes or No

If Yes to #4 and/or #5, please move to #6. If No to #4 and #5, you

are done.

6. Do you find from a preponderance of the evidence that Plaintiff should be

awarded damages under the FMLA?

Answer Yes or No

If your answer is “Yes,”
in what amount? $

SO SAY WE ALL.

 

Foreperson’s Signature
DATE:

 

50
